Case 5:19-cv-00176-JPB Document 106 Filed 10/12/21 Page 1 of 1 PageID #: 1419




                          IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF WEST VIRGINIA

 DIANA MEY,

         Plaintiff,

 v.                                                                       Civil Action No. 5:19-cv-176

 MONITRONICS INTERNATIONAL, INC. d/b/a
 BRINKS HOME SECURITY; and HOME SECURITY USA,
 LLC D/B/A COLORADO’S HOME SECURITY USA,

         Defendants.

                           STIPULATION ANI) ORDER OF DISMISSAL

         Comes now Plaintiff Diana Mey, by her counsel, and Defendant Monitronics International,

 Inc., d/b/a Brinks Home Security, by its counsel, and stipulate to the dismissal of this action, with

 prejudice.

         In accordance with the foregoing stipulation, this action is hereby DISMISSED WITH

 PREJUIJICE.

         Datedthis      (2        day of   Oc#Ol7.e~.      2021.

                                                            c~jOL~&~
                                                 JO       TON BAILEY
                                                 UNITED STATES DISTRICT JUDGE




                                                     1
